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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                          Case No.:20−10125−jal
      Kevin T. Gabehart

                                 Debtor(s)                            Chapter: 13




      NOTICE OF CONTINUED MEETING OF CREDITORS
      YOU ARE HEREBY NOTIFIED that the meeting of creditors in the above referenced
      case has been rescheduled. The debtor (both spouses in a joint case) must be present at
      the meeting to be questioned under oath by the trustee and by creditors. Creditors are
      encouraged but are not required to attend.

      Hearing Room 1, 4th Floor, 1001 Center Street, Bowling Green, KY 42101

      on 4/16/20 at 11:30 AM

      This case may be dismissed without further notice for failure to attend this meeting.

      A copy of this notice shall be mailed to the debtor(s), counsel for the debtor(s), the U.S.
      Trustee and to all scheduled creditors and parties in interest.


      Dated: 3/14/20
                                                   ENTERED BY ORDER OF THE COURT
      By: mes                                      United States Bankruptcy Court
      Deputy Clerk                                 Elizabeth H. Parks, Clerk
